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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 VICTOR MEJIA RIOS, et al.,                      §
      Plaintiffs,                                §
                                                 §
 v.                                              §
                                                 §      CASE NO. 5:19-cv-00552-RBF
 THE GEO GROUP, INC.,                            §
                                                 §
           Defendant.                            §

     REPLY IN FURTHER SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                       SECOND AMENDED COMPLAINT

        Plaintiffs respectfully submit this Reply in response to Defendant’s Opposition to

Plaintiffs’ Motion For Leave to File Their [Second] Amended Complaint (the “Opposition”) and

in further support of Plaintiffs’ Motion For Leave to File Their Second Amended Complaint (the

“Motion”). As set forth more fully below, justice requires that leave to file the Second Amended

Complaint (the “SAC”) be granted and Defendant has failed to provide any legitimate basis to

deny it.

I.      ARGUMENT

        A.      Justice Requires that Plaintiffs’ Motion be Granted

        Permission to amend pleadings is freely given when justice so requires. See Fed. R.

Civ. P. 15(a)(2) (“a party may amend its pleading [with] the court’s leave” and “[t]he court should

freely give leave when justice so requires.”). Further, “Rule 15(a) evinces a bias in favor of

granting leave to amend” so as to allow “the disposition of the case on its merits[.]” Chitimacha

Tribe of Louisiana v. Harry L. L. Co., 690 F.2d 1157, 1163 (5th Cir. 1982).

        “When ruling on a motion for leave to amend, the court should ‘consider judicial economy

and whether the amendments would lead to expeditious disposition of the merits of the litigation.’”

Waddleton v. Rodriguez, 750 F. App’x 248, 257 (5th Cir. 2018) (citing Chitimacha, 690 F.2d at
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1163). “The court should also consider ‘whether the amendment adds substance to the original

allegations, and whether it is germane to the original case of action.’” Waddleton, 750 F. App’x at

257 (citing Chitimacha, 690 F.2d at 1163).

       “A motion for leave should not be denied ‘unless there is a substantial reason to do so.’”

Accresa Health LLC v. Hint Health Inc., No. 4:18-CV-00536, 2019 WL 10960486, at *12 (E.D.

Tex. May 23, 2019) (citing Jacobsen v. Osborne, 133 F.3d 315, 318 (5th Cir. 1998); Stonecoat of

Texas, LLC v. ProCal Stone Design, LLC, No. 4:17-CV-00303, 2018 WL 11176237, at *9 (E.D.

Tex. Nov. 9, 2018) (same).

       The SAC’s specific, per-Plaintiff allegations allow for an expeditious resolution of the case

and assist with judicial economy by organizing the allegations and claims for each Plaintiff and

each Plaintiff-group. As in Taylor v. Denka Performance Elastomer LLC, No. CV 17-7668, 2018

WL 5786051 (E.D. La. Nov. 5, 2018) and as specifically ordered by this Court, Plaintiffs

particularize their claims and allegations, warranting leave to amend their pleadings. Id. at *4–5

(“this time, the plaintiffs offer not only detailed ‘background facts’ providing an overview of

[likely harm to them by defendant’s conduct] but also a factual predicate detailing how

[defendant’s conduct caused harm] as to each plaintiff” including “individualized descriptions and

facts detailing each plaintiff's alleged harm.”). Also, as in Taylor, Defendant’s dispute of the merits

of Plaintiffs’ claim at the pleading stage is inappropriate. See id. at *5 (defendant disputing

causation element of plaintiffs’ injuries and suggesting that any number of sources could have

caused plaintiffs’ harm, may be so, but “at this procedural stage, it is not the appropriate setting

for dismissal.”).

       Defendant’s suggestion that the total number of claims presented is in and of itself

sufficient to deny amendment is without basis in law. See Luig v. N. Bay Enterprises, Inc., No.


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7:13-CV-00094-O, 2016 WL 11671167, at *2 (N.D. Tex. June 28, 2016); Earl v. Boeing Co., No.

4:19-CV-507, 2020 WL 5993785, at *3 (E.D. Tex. Oct. 9, 2020) (listing neither number of claims,

nor number of plaintiffs, as factors in determining whether to grant leave). In any case, the SAC

decreases, rather than increases, the number of causes of action. See Amended Complaint dated

December 20, 2019 (Dkt. 26) and SAC (decreasing the number of causes of action to six).

       Plaintiffs’ six causes of action for (1) intentional infliction of emotional distress, (2) false

imprisonment, (3) assault and battery, (4) medical malpractice and failure to provide adequate

healthcare, (5) negligence and (6) violation of Texas Family Code § 42.002 (Possessory Right to

Children) are neither inherently complex nor incapable of expeditious disposition on the merits. In

addition, the claims are grouped by Plaintiff category: all Plaintiffs (intentional infliction of

emotional distress, false imprisonment, medical malpractice and failure to provide adequate

healthcare, and negligence) and Plaintiff-Fathers only (assault and battery and violation of Texas

Family Code § 42.002 (Possessory Right to Children)) so as to promote judicial efficiency.

       In addition to the general allegations in the original and amended complaints, Plaintiffs

have provided specific individual allegations in the SAC. Plaintiffs have not added new causes of

action, but as directed, have provided more information about their existing allegations. The SAC

adds substance to the previously presented claims and provides further detail; therefore, justice

requires that the Motion be granted.

       B.      Defendant Has Failed to Provide Any Legal or Factual Basis to Deny
               Plaintiffs’ Motion

       Defendant fails to set forth “substantial” grounds for denying amendment. Instead,

Defendant’s assertions that the allegations in the SAC are “wide-ranging” and “do little to focus

discovery or make this case more manageable,” see Opposition at 3-4, are neither factually true



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nor relevant to the legal standard for considering a motion for leave to amend. See Waddleton, 750

F. App’x at 257; Luig, No. 7:13-CV-00094-O, 2016 WL at *2.

       Defendant’s Opposition does not claim that the SAC fails to add substance or is not

germane to the original allegations. Other than their bare contention that the SAC is “wide-

ranging” and unmanageable, Defendant’s Opposition raises none of the five issues—undue delay,

bad faith or dilatory motive, failure to cure deficiencies by previous amendments, undue prejudice,

or futility of amendment—that are commonly considered by the Fifth Circuit in determining

whether to grant a motion for leave to amend. See Luig, No. 7:13-CV-00094-O, 2016 WL at *2

(citing Smith v. EMC Corp., 393 F.3d 590, 595 (5th Cir. 2004)); Earl v. Boeing Co., No. 4:19-CV-

507, 2020 WL at *3.

       Importantly, none of these factors is present in this instance. Plaintiffs’ Motion was timely

filed following the Court’s February 23, 2022 Text Order granting Plaintiffs’ Motion for Extension

of Time to File. Allowing amendment would not cause undue delay in the proceeding because full

discovery has not yet commenced. See Order filed January 5, 2022 (Dkt. 68) (“[t]he scope of

discovery should now expand.”) Plaintiffs’ Motion was made in good faith in an attempt to best

comply with this Court’s January 5, 2022 Order seeking clarity on their claims. Plaintiffs’ Motion

comes as no surprise, since in their Motion For An Extension of Time To File, which this Court

granted, Plaintiffs stated that “Plaintiffs’ counsel anticipate filing a Motion for leave to File A

Second Amended Complaint with the Claims Chart in order to narrow and focus the claims, align

the pleadings with the facts, streamline discovery, and clarify the issues for resolution[.]” (Dkt.

69). Plaintiffs had no dilatory motive or repeated failure to cure deficiencies in previous pleadings.

Defendant has not suggested that it would be prejudiced in any way by the SAC, nor can there be

prejudice to Defendant if amendment is permitted. Indeed, the Court, as well as all parties benefit


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from clarification of the issues for resolution. Finally, Defendant has also failed to allege, and

cannot demonstrate, that the amendments set forth in the SAC are futile, or fail to state viable

causes of action.

       As Defendant fails to set forth any grounds to deny amendment and because none exists,

leave to amend should be granted.

       C.      Defendant Mischaracterizes Plaintiffs’ Allegations

       In the absence of law or facts to support its opposition to the SAC, Defendant resorts to

mischaracterizations of Plaintiffs’ claims. Defendant’s assertions that this “Court recognized that

Plaintiffs did not meaningfully amend their complaint when given the chance” and that Plaintiffs

were concerned “they could not provide a sufficient claims chart based on their operative pleading”

are incorrect. Most importantly, neither argument provides grounds for denying amendment and

neither is a factor that courts consider in deciding motions to amend.

       Defendant also mischaracterizes Plaintiffs’ claims in arguing that Plaintiffs are challenging

ICE’s decision to transfer Plaintiff-Fathers. This is not so. The SAC does not challenge ICE’s

decision to transfer Plaintiff-Fathers, but it does challenge Defendant’s conduct in seeking and

obtaining that decision, as well as the means and manner by which Defendant effectuated the

transfer. See e.g., SAC ¶¶ 25-36; id. ¶¶ 59, 79, 93-94 (“On April 15, 2018, with no proper notice

or lawful justification, without any validly conferred authority to do so, and in violation of the

Preliminary Injunction, GEO improperly and forcibly removed the FATHERS from Karnes, once

again separating them from CHILDREN…” (¶ 27); “GEO medical staff were present where the

FATHERS were held. OLIVEROS asked them for medication because he had a very bad

headache. The nurses did not give him any medication. OLIVEROS told the officers that the zip

ties were too tight, but the officers refused to adjust them” (¶ 59); “GEO staff, who had told the


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CHILDREN that they would never see their FATHERS ever again, started laughing” (¶ 79); “GEO

staff treated him so roughly that his handcuffs cut the skin on his wrist. GEO staff patted him down

with such force that one of his shoes fell off” (¶ 93); “Amidst all of this, some of the officers

laughed and grinned” (¶ 94)).

       Defendant also misstates Plaintiffs’ position by claiming that “the only significant

allegations of injury relate entirely to the fact of separation.” Opposition, p. 3. Despite Defendant’s

attempt to minimize Plaintiffs-Fathers’ injuries as “minor” and not “serious,” Plaintiffs’

allegations of mental distress, anguish and mental trauma arising from the unlawful treatment they

received are sufficient to support their causes of action for intentional infliction of emotional

distress, negligence, false imprisonment, medical malpractice, and violation of Texas Code

§42.002. Moreover, Defendant cannot deny that Plaintiff-Fathers’ alleged injuries plainly relate to

the manner in which it carried out the transfer from Karnes detention center to Pearsall detention

center and the treatment of Plaintiff-Fathers at Pearsall. See e.g., id. ¶ 47 (“MEJIA suffered pain,

anguish and mental trauma as a result of GEO’s conduct … including … GEO’s failure to provide

adequate medical and psychological treatment …; … GEO’s treatment of him; his being placed in

solitary confinement; and GEO’s treatment of his son.”).

       Defendant also mischaracterizes the record in claiming that Plaintiffs disclaimed physical

injuries. In purporting to show that disclaimer, Defendant proffers a one-page excerpt from a

hearing transcript filed on December 2, 2019. Defendant argues that the except shows that

Plaintiffs’ claims “do not encompass any” physical injuries. The excerpt does not show that. In the

excerpt, Plaintiffs’ counsel informed the Court that “[w]e are still developing … what we believe

will be medical treatment” when counsel was asked if “there [are] specific medical injuries apart




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from that emotional injury?” Further, when asked whether “it’s just that emotional distress so far”,

counsel replied: “[a]s far as we know – yes.”

       Counsel’s responses cannot be read to preclude future allegations of physical injuries given

their knowledge at that early stage of this matter. As far as counsel knew at the time, emotional

distress damages, including “psychological counseling,” constituted Plaintiffs’ injuries. As stated

in Plaintiffs’ Motion For An Extension of Time To File, as of February 18, 2022, “Plaintiffs’

counsel [was] interviewing each of the Plaintiff Fathers and Sons in order to prepare the Claims

Chart, and [had] completed interviews with eleven of the Plaintiffs Fathers and two of the Plaintiff

Sons, with the remaining interviews to be completed within the next ten days.” (Dkt. 69). As

Plaintiffs developed their case following the December 2019 hearing, injuries beyond “emotional

distress, psychological trauma and mental anguish” were discovered. As justice plainly requires,

Plaintiffs should be afforded the opportunity to present such allegations and proof at trial. Stripling

v. Jordan Production Co., LLC, 234 F.3d 863,873 (5th Cir. 2000).

       Daves v. Payless Cashways, Inc., 661 F.2d 1022 (5th Cir. 1981), relied upon by Defendant,

is inapposite. There, amendment was denied in part because plaintiff’s motion to amend was

brought too late and showed dilatory neglect. See 661 F.2d 1022, 1025. The motion to amend was

filed “on the eve of trial after discovery and after an unexplained nineteen-month delay.” Id. The

Fifth Circuit found that the plaintiff unjustifiably delayed in moving to amend and neglected her

case, warranting denial of the motion to amend. See id.

       Moreover, in Daves, the proposed amended complaint alleged that plaintiff was denied

employment in defendant’s sales/receiving department, instead of in the plumbing and electrical

department, as the original complaint stated. Id. The district court viewed the proposed amendment

“as trying to change the cause of action after the case had been set for trial”. Id. The Fifth Circuit


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found that the new allegations “encompassed a much broader range of potential job openings and,

therefore, substantially alter[ed] what must be proved to recover under Title VII”; the amendment

thus represented more than an “alternative” theory for recovery. Id.

       Neither is the case here. Plaintiffs timely moved to amend consistent with the Text Order

filed February 23, 2022 granting an extension to Plaintiffs’ deadline to file a claims chart. Further,

Defendant would not be prejudiced if amendment is permitted because full discovery has not yet

commenced. See Order filed January 5, 2022 (Dkt. 68).

       The SAC reduces the number of claims and does not substantially alter what must be

proved to recover under each claim.

       For the foregoing reasons, leave to amend should be granted.



Dated: April 12, 2022                                 Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

       I certify that on the date specified below, a true copy of this document was electronically

filed with the Clerk of the Court using CM/ECF, and that CM/ECF will send a notice of

electronic filing to all registered CM/ECF users and that there are no known non-registered

CM/ECF users in this case.


                                                            /s/ Jake Gilbert
                                                            Jake Gilbert
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